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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


 FREDERICK WEICHEL,

              Plaintiff,

                           v.                         Case No. 20-CV-11456-IT

 TOWN OF BRAINTREE, et al.

              Defendants.


     ESTATE OF EDWARD WALSH’S MOTION TO DISMISS AMENDED
          COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(6)


      Now comes the Defendant, the Estate of Edward Walsh (the “Estate”), and

hereby respectfully moves this Honorable Court, pursuant to Fed. R. Civ. P. 12(b)(6)

to dismiss the First Amended Complaint (ECF No. 93) against the Estate. As

grounds, the Estate states that: (1) Plaintiff’s claims are time-barred; (2) Plaintiff

has failed to sufficiently plead a claim against Edward Walsh (“Officer Walsh”); and

(3) two of Plaintiff’s claims are barred by the doctrine of qualified immunity.

      In further support of this Motion, the Estate respectfully refers the Court to

its Memorandum of Law, filed herewith.

      WHEREFORE, the Estate respectfully requests that Plaintiff’s Complaint be

dismissed with prejudice.
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Date: July 23, 2021                          Respectfully submitted,

                                             Estate of Edward Walsh,

                                             By its attorneys:

                                             HENRY C. LUTHIN
                                             Corporation Counsel

                                             /s/ Nieve Anjomi
                                             Nicole M. O’Connor (BBO#675535)
                                             Nieve Anjomi (BBO#651212)
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                      LOCAL RULE 7.1 CERTIFICATION

      I hereby certify that I conferred with Mark Loevy-Reyes pursuant to Local
Rule 7.1 in an effort to narrow the issue raised here.

July 23, 2021                           /s/ Nieve Anjomi
Date                                    Nieve Anjomi


                               Certificate of Service

      I, Nieve Anjomi, hereby certify that on July 23, 2021, a true copy of the above
document will be served upon all parties of record via this court’s electronic filing
system and to those non-registered participants via first class mail.

                                       /s/ Nieve Anjomi
                                       Nieve Anjomi




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